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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS



 IN RE SYNGENTA AG MIR162 CORN
 LITIGATION                                      Master File No. 2:14-MD-02591-JWL-JPO

 THIS DOCUMENT RELATES TO                        MDL No. 2591
 ALL CASES EXCEPT:

   Louis Dreyfus Company Grains
   Merchandising LLC v. Syngenta AG, et
   al., No. 16-2788-JWL-JPO

   Trans Coastal Supply Company, Inc. v.
   Syngenta AG, et al., No. 2:14-cv-02637-
   JWL-JPO

   The Delong Co., Inc. v. Syngenta AG, et
   al., No. 2:17-cv-02614-JWL-JPO

   Agribase International Inc. v. Syngenta
   AG, et al., No. 2:15-cv-02279-JWL-JPO



   STIPULATION AND ORDER REGARDING THE COURT’S DECEMBER 31, 2018
                MEMORANDUM AND ORDER, ECF NO. 3882

       On December 31, 2018, the Court entered its Memorandum and Order. ECF No. 3882. In

this Order, the Court discussed the Paul LLP firm’s inclusion in the Kansas and Minnesota pools:

              It was noted at the hearing that the R&R inadvertently places the
              Paul firm in both the Kansas and Minnesota pools. It was further
              revealed, however, that that firm is perhaps unique with respect to
              the amount of approved common benefit work performed in both
              jurisdictions, and that Kansas and Minnesota leadership have
              anticipated a common benefit award for that firm from both pools.
              Thus, the Court will not alter the placement in two pools of this one
              firm, with the assumption that eventual allocations will mindfully
              ensure a fair recovery by the firm.

ECF No. 3882 at 27 n.10. In Exhibit 2 of the Special Master’s Report and Recommendation,

however, five additional law firms were actually placed in both the Kansas and Minnesota pools:
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1) Lockridge Grindal Nauen P.L.L.P.; 2) Paul LLP; 3) Wadler, Perches, Hundl & Kerlick; 4)

Wagner Reese; 5) Wagstaff & Cartmell, LLP; and 6) Zimmerman Reed LLP. ECF No. 3816-2.

It was the understanding of Kansas and Minnesota lead counsel that this was because each of these

firms reported some audited common-benefit work and/or expenses in both jurisdictions (work

that was subsumed in the joint fee petitions of each respective jurisdiction). See Dec. 17, 2018

Hr’g Tr. at 91. Consequently, the undersigned respectfully request entry of this stipulation and

order that expands the group of firms to be paid from two pools to include all six of these firms.

        Kansas and Minnesota leadership have discussed these six firms and request that all six

firms remain in both pools because of separate work performed by these firms in both jurisdictions.

Kansas and Minnesota leadership intend to follow the Court’s guidance with regard to the Paul

LLP law firm and to apply this same guidance to the additional five firms included in both pools,

including confirming and ensuring that no firm submitted the same work in both jurisdictions and

reporting to both courts the recommended allocations in each jurisdiction to ensure the courts know

the overall fee being recommended.1




        IT IS SO ORDERED.



Date: January 9, 2019                                 s/John W. Lungstrum
                                                     JOHN W. LUNGSTRUM
                                                     UNITED STATES DISTRICT JUDGE




        1
           If the same work was approved by both leaderships, firms were expected to split the time reported to both
jurisdictions.


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Respectfully Submitted,

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